       Case 8:25-cv-00337-BAH           Document 63        Filed 02/14/25     Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
__________________________________________
                                             )
PFLAG, INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )   Civil Action No. 1:25-cv-337
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)


        DEFENDANTS’ CONDITIONAL MOTION TO CLARIFY TEMPORARY
                         RESTRAINING ORDER

       Defendants respectfully present this conditional motion to clarify the Court’s temporary

restraining order entered on February 13, 2025, see Order, ECF No. 61.

       The injunctive relief provided in the second paragraph of the Court’s Order is limited to

the agency defendants. It restrains “Defendants U.S. Department of Health and Human Services

(‘HHS’), Acting HHS Secretary Dorothy A. Fink, Health Resources and Services Administration

(‘HRSA’), HRSA Principal Deputy Diana Espinosa, National Institutes of Health (‘NIH’), Acting

NIH Director Matthew J. Memoli, National Science Foundation (‘NSF’), NSF Director

Sethuraman Panchanathan, and any subagencies of Defendant HHS, their officers, agents,

successors, servants, employees, and attorneys, and any other persons who are in active concert

or participation with them,” from “conditioning or withholding federal funding based on the fact

that a healthcare entity or health professional provides gender affirming medical care to a patient

under the age of nineteen under Section 3(g) of Executive Order 14168 and Section 4 of




                                                -1-
        Case 8:25-cv-00337-BAH           Document 63         Filed 02/14/25      Page 2 of 3



Executive Order 14187.”1 Order at 1.

       The third paragraph of the order could be read to extend more broadly. It requires

Defendants to “provide written notice of the Court’s temporary restraining order to all agencies

to which the Executive Orders were addressed.” Order at 2 (emphasis added). It further directs

that “[t]he written notice shall instruct those agencies that they may not take any steps to

implement, give effect to, or reinstate under a different name the directives in Section 3(g) of

Executive Order 14168 or Section 4 of Executive Order 14187.” Id. (emphasis added). And it

similarly states that “[t]he written notice shall also instruct those agencies to release any

disbursements on funds that were paused due to the Executive Orders.” Id. (emphasis added).

This paragraph could be read to require Defendants to provide notice of the temporary

restraining order to agencies that are not defendants in this case (or subagencies of Defendant

HHS) and that are not otherwise restrained under the injunctive relief provided in the second

paragraph of the Court’s order.

       Defendants do not believe the Court intended that result. HHS and its subagencies, as

well as NSF, are the only agency defendants named in this case. Plaintiffs’ proposed temporary

restraining order—which was filed before NSF was added as a defendant—was limited to

enjoining HHS, its subagencies, their officers, agents, successors, servants, employees, and

attorneys, and any other persons who are in active concert or participation with them.

[Proposed] Order on Pls.’ Emergency Mot. for TRO, ECF No. 35-2. And the injunctive relief the

Court provided in the second paragraph of its Order likewise clearly extends only to HHS and its

subagencies, NSF, and their officers, agents, successors, servants, employees, and attorneys, and



       1
         Pursuant to Federal Rule of Civil Procedure 25(d), Robert F. Kennedy, Jr., Secretary of
Health and Human Services, is automatically substituted as a defendant in his official capacity for
his predecessor, Dorothy Fink.

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       Case 8:25-cv-00337-BAH            Document 63       Filed 02/14/25      Page 3 of 3



any other persons who are in active concert or participation with them. Thus, Defendants

understand the third paragraph of the Order to require written notice to HHS and its subagencies,

as well as NSF, but no other agencies.

       To ensure that they are not inadvertently running afoul of the Court’s Order, however,

Defendants respectfully request clarification from the Court if their understanding of the scope of

the Court’s Order is incorrect.2


Dated: February 14, 2025                      Respectfully submitted,

                                              BRETT A. SHUMATE
                                              Acting Assistant Attorney General
                                              Civil Division

                                              MICHELLE BENNETT
                                              Assistant Director
                                              Federal Programs Branch

                                              /s/ Vinita B. Andrapalliyal
                                              VINITA B. ANDRAPALLIYAL
                                              Senior Counsel
                                              CHRISTIAN S. DANIEL
                                              Trial Attorney
                                              United States Department of Justice
                                              Civil Division, Federal Programs Branch
                                              1100 L Street NW
                                              Washington, DC 20530
                                              Tel.: (202) 514-0265
                                              vinita.b.andrapalliyal@usdoj.gov
                                              christian.s.daniel@usdoj.gov
                                              Counsel for Defendants




       2
         Defendants conferred with Plaintiffs regarding this motion, and Plaintiffs indicated they
“don’t take any position on the clarification motion and will reserve our response until we see it.”


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